 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

 Sadek and Cooper Law Office
 1315 Walnut Street
 Suite 502
 Philadelphia, PA 19107
 215-545-0008

 In re:                                                                                    Case No.:           19-30999


                                                                                           Chapter:            13


             James E. Theisen                                                              Adv. No.:

                                                                                           Hearing Date:
                                                                                                               June 9, 2020 at 10:00am

                                                                                           Judge:              Altenburg



                                                               CERTIFICATION OF SERVICE

1. I,      Karen M. Campling               :
                represent              in the this matter.
                am the secretary/paralegal for                       Brad J. Sadek, Esq.    , who represents
              James E. Theisen                 in the this matter.
                am the             in the this case and am representing myself.

2.          On May 11, 2020 , I sent a copy of the following pleadings and/or documents to the parties listed in the
            chart below:

                        Debtor's Objection to Proof of Claim 6-1


3.          I hereby certify under penalty of perjury that the above documents were sent using the mode of service
            indicated.

 Dated:         May 11, 2020                                                                   /s/ Karen M Campling
                                                                                              Signature




                                                                                1
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      Name and Address of Party Served                                 Relationship of             Mode of Service
                                                                      Party to the Case
                                                                                          Hand-delivered
                                                                                          Regular mail
                                                                                          Certified mail/RR
 Ovation Sales Finance Trust                                                              E-mail
 Service Finance Company, LLC
 555 S Federal Highway
                                                                                          Notice of Electronic Filing (NEF)
 #200                                                                                     Other
 Boca Raton, FL 33432                                                Creditor             (as authorized by the court *)
                                                                                          Hand-delivered
                                                                                          Regular mail
                                                                                          Certified mail/RR
 Isabel C. Balboa                                                                         E-mail
 Chapter 13 Standing Trustee
 Cherry Tree Corporate Center
                                                                                          Notice of Electronic Filing (NEF)
 535 Route 38 - Suite 580                                                                 Other
 Cherry Hill, NJ 08002                                               Trustee              (as authorized by the court *)

      * May account for service by fax or other means as authorized by the court through the issuance of an Order
      Shortening Time.




                                                                          2                                                 rev. 8/1/15
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